Case 21-10152-rlj11 Doc 60 Filed 07/06/22              Entered 07/06/22 10:02:58          Page 1 of 7



                    UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF TEXAS
                            ABILENE DIVISION
  IN RE:                            §
                                    §
  SHEKINAH OILFIELD SERVICES, INC., §          CASE NO. 21-10152
                                    §
                                    §
         DEBTOR.                    §
                                    §

                      BALLOT SUMMARY REGARDING CHAPTER 11 PLAN

The undersigned hereby certifies that the following Ballot Summary and the attached Ballots reflect the
ballots received with respect to the solicitation of the Debtor’s First Amended Subchapter V Plan of
Reorganization of Shekinah Oilfield Services, Inc. dated May 10, 2022 (Docket No. 49).




Dated: July 6, 2022                        Respectfully submitted:

                                           WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
                                           By:     /s/ Jeff Carruth
                                               JEFF CARRUTH (TX SBN: 24001846)
                                               3030 Matlock Rd., Suite 201
                                               Arlington, Texas 76105
                                               Telephone: (713) 341-1158
                                               Fax: (866) 666-5322
                                               E-mail: jcarruth@wkpz.com
                                           ATTORNEYS FOR
                                           SHEKINAH OILFIELD SERVICES, INC.
                                           DEBTOR AND DEBTOR IN POSSESSION

                                   CERTIFICATE OF SERVICE
A copy of the foregoing was provided only to all registered ECF users who have appeared in this case.
                                                         /s/ Jeff Carruth
                                                JEFF CARRUTH




BALLOT SUMMARY REGARDING CHAPTER 11 PLAN — Page 1                                           2171306.DOCX [1]
Case 21-10152-rlj11 Doc 60 Filed 07/06/22   Entered 07/06/22 10:02:58   Page 2 of 7
Case 21-10152-rlj11 Doc 60 Filed 07/06/22   Entered 07/06/22 10:02:58   Page 3 of 7
Case 21-10152-rlj11 Doc 60 Filed 07/06/22   Entered 07/06/22 10:02:58   Page 4 of 7
Case 21-10152-rlj11 Doc 60 Filed 07/06/22   Entered 07/06/22 10:02:58   Page 5 of 7
Case 21-10152-rlj11 Doc 60 Filed 07/06/22   Entered 07/06/22 10:02:58   Page 6 of 7
Case 21-10152-rlj11 Doc 60 Filed 07/06/22   Entered 07/06/22 10:02:58   Page 7 of 7
